Case 1:18-ml-00873-RMM Document 2 Filed 12/13/18 Page 1 of 36

AO 106 (Rev. 06/09) Application for a Search Warrant

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
In the Matter of the Search of
iefly describe the property to be searched
oi ntify the person by ni Ai er Case No. 18-ml-873

Information Associated with the e-mail accounts porteco.safia@)gmail.com,

sofianeirynck@gmall.com, beifortlid@gmail, eoodsm@gmail.com, sabeta03250@gmall.com,
bemard.alain65@gmail.com, gerd.moyson@gmail.com, and debouwer2014@gmail,com that
is stored at premises controlled by Google LLC

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

property to be searched and give its location):
See Attachment A, incorporated herein by reference.

located in the Northern District of California
person or describe the property to be seized):

, there is now concealed (identify the

See Attachment B, incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
wt contraband, fruits of crime, or other items illegally possessed;
ow property designed for use, intended for use, or used in committing a crime;
CO a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

See Attached Affidavit in
Support of Search Warrant

The application is based on these facts:
See Attached Affidavit in Support of Search Warrant

a Continued on the attached sheet.

© Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the GL AL

 

 

= Applicant's signature
Carlos A. Tomala, Special Agent, FBI
Printed name and title

Sworn to before me and signed in my presence.
e
Ke 7 LU an ee
v igntature

Date: 12/13/2018
Judge's si

___ Robin M. Meriweather United states Magistrate Judge

City and state: Washington, D.C.
Printed name and title

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Columbia
In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No.  18-ml-873
Information Associated with the e-mail accounts porteco.sofia@gmail.com, )

Sofiansirynck@gmail.com, belfortitd@gmail, eeodsm@gmail.com, sabeta03250@gmail.com,
bemard.alain6S5@gmail.com, gerd.moyson@gmail.com, and debouwer2014@gmail.com that is )
stored at premises controlled by Googie LLC )

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Northern District of California
(identify the person or describe the property to be searched and give its location):

See Attachment A, hereby incorporated by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B, hereby incorporated by reference.

YOU ARE COMMANDED to execute this warrant on or before December 27, 2018 (not to exceed 14 days)
© in the daytime 6:00 a.m. to 10:00 p.m. | @at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to _ Robin M. Meriweather, United States Magistrate Judge_.
(United States Magistrate Judge)

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

 

 

 

 

6 for days (not to exceed 30) © until, the facts justifying, the later specific date of .
oi” Mp bite
Date and time issued: 12/13/2018 0: mais Le
Judge's squats
City and state: Washington, D.C. Robin M. Meriweather, United States Magistrate Judge

 

 

Printed name and title

 
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AO93 (Rev, 11/13) Seerch end Seizure Werrant (Page 2).

Return

 

{Case No:
48-ml-873-

 

Date and time warrant executed:

 

Copy of warrant and inventory left with:

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

 

designated judge,

Date:

 

I declare under penalty of perjury that this inventory is correct and was returned along ‘with the original warrant to the

 

Executing officer's signature

 

Printed name and title

 

 

 

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ATTACHMENT A
Property to Be Searched

This warrant applies to information that is associated with the Google accounts .identified
by porteco.sofia@gmail.com, sofianeirynck@gmail.com, belfortlid@gmail.com,
eoodsm@gmail.com, sabeta03250@gmail.com, bernard.alain65@gmail.com, |
gerd.moyson@gmail.com, and debouwer2014@gmail.com and is stored at premises owned,
maintained, controlled, or operated by Google LLC, a company that accepts service of legal

process at 1600 Amphitheatre Parkway, Mountain View, California.

 
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ATTACHMENT B

-Particular Things to be Seized and Procedures
to Facilitate Execution of the Warrant

I. Information to be disclosed by. Google LLC (“PROVIDER”) to facilitate
execution of the warrant

To the extent that the information described in Attachment A is within the possession,

| custody, or control of PROVIDER, regardless of whether such information is located within or
outside of the United States, including any records that have been deleted but are still available
to PROVIDER, or have been preserved. pursuant to a request made under 18 U.S.C. § 2703(f),

. PROVIDER is required to disclose the following information to the government for each account
ot identifier listed in Attachment A (“Account”):

a. For the time period September 1, 2013 to December 31, 2016: The contents of all
communications and related transactional records for all PROVIDER services used by an
Account subscriber/user (such as e-mail services, calendar services, file sharing or storage
services such as Google Drive, Google Do cs, or Google Sheets, photo sharing or storage services
such as Google Photos, instant messaging or chat services such as Google Hangouts, voice call
services such.as Google Voice, or remote computing services), including but not limited to
incoming, outgoing, and draft e-mails, messages, calls, chats, and.other electronic:
communications; attachments to communications (including native files); source and destination
"addresses and header or routing information for each communication (including originating
Internet Protocol (“IP”) addresses of e-mails); the date, size, and length of each communication;

and any user or device identifiers linked to each communication (including cookies);

b. For the time period September 1, 2013 to December 31, 2016: The contents of all .

other data and related transactional records for all PROVIDER services used by an Account user

 
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(such as e-mail services, calendar services, file sharing or storage services, photo sharing or.
storage services, remote computing services, instant messaging or chat services, voice call
services, or remote computing services), including any information generated, modified, or.
stored by user(s) or PROVIDER in connection with the Account. (such as contacts, calendar data,
images, videos, notes, documents, bookmarks, profiles, device backups, and any other saved
information);

c. For the time period September 1, 2013 to December 31, 2016: All records and
other information concerning any document, or other computer file created, stored, revised; or
accessed in connection with the Account or by an Account user, including the contents and

revision history of each document or other computer file, and all records and other information

about each connection made to or from such document or other computer file, including the date,

time, length, and method of connection; server log records; data transfer volume; and source and
destination IP addresses and port numbers; :

d. All records regarding identification of the Account, including names, addresses,

telephone numbers, alternative e-mail addresses provided during registration, means and source of -

payment (including any credit card or bank account number), records of session times and
durations (including IP addresses, cookies, device information, and other identifiers linked to those

sessions), records of account registration (including the IP address, cookies, device information,

and other identifiers linked to account registration), length of service and types of services utilized, -

account status, methods of connecting, and‘server log files;
e, All records pertaining to devices associated with the Account and software used
to create and access the Account, including device serial numbers, instrument numbers, model

types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile Equipment
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Identifiers (“MED”), Global Unique. Identifiers (“GUID”), Electronic Serial Numbers (“ESN”), |
Android Device IDs, phone numbers, Media Access Control CMAC”) addresses, operating
system information, browser information, mobile network information, information regarding
cookies and similar technologies, and any: other unique identifiers that would assist in identifying
any such device(s); |

f.  _— Basic subscriber records and login history (including, as described in 18 U.S.C. °
§ 2703(0)(2), names, addresses, records of session times and durations, length of service and
. ‘types of service utilized, instrument numbers or other subscriber numbers or identities, and
payment information) concerning any PROVIDER account (including both current and historical _
accounts) ever. linked to the Account by a common e-mail address (such as a common recovery
e-mail address), or a common telephone number, means of payment (e g., credit card number),
registration or login IP addresses (during one-week period), registration or login cookies or |
similer technologies, or any other unique device or user identifier;

g. For the time period September 1, 2013 to December 31, 2016: All records of
communications between PROVIDER and any person regarding the Account, including contacts
with support services and records of actions taken; and

h. Information about any complaint, alert, or other indication of malware, fraud, or
tems of service violation related to the Account or associated user(s), including any memoranda, ,
correspondence, investigation files, or records of meetings or discussions about the Account or
associated user(s) (but-not including confidential communications with legal counsel).

Within 14 days of the service of this warrant, PROVIDER shall deliver the information
set forth above via United States mail or courier to: Acting Unit Chief Robert C, Basdafiez,
Federal Bureau of Investigation, J. Edgar Hoover Building, MLAT Unit, Room.7848, 935

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Pennsylvania Avenue, NW, Washington D.C. 20535-0001 or email to

HQ _ISP_MLAT Returhs@FBL gov.

 
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IL. Information to be seized by the government
All information-described above in Section I that constitutes fruits, contraband, evidence
and instrumentalities of violations of the criminal laws of Belgium, specifically, Sections 193,
196, 314, S04bis, and 505¢er of the Belgian Criminal Code, regarding public contract fraud/bid-
tigping and bribery, including, for each Account, information pertaining to the following.
‘matters: |

(a) Information that constitutes evidence of the identification or location of the
user(s)-of the Account: | |

(b). Information that constitutes evidence concerning persons who either (i)
collaborated, conspited: or assisted (knowingly or unknowingly) the commission
of the criminal activity under investigation; or (ii). communicated with the
Account about matters relating to the criminal activity under investigation,
including records that help reveal their whereabouts;

(c) Information that constitutes.evidence indicating the Account user’s state of mind,
é.g., intent, absence of mistake, or evidence indicating preparation or planning,
related to the criminal activity under investigation;

(d) Information that constitutes evidence concerning how and when the Account was .
accessed or used, to determine the geographic and: chronological context of
account access, use, and events relating to the crime under investigation and to the
Account user; |

{e) Information that constitutes evidence concerning fraud, bid-rigging, and bribery

" with respect to public contracts and collusion and conspiracy of the same;

(f) Information regarding any communication:

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a. between or among the individuals named in this affidavit, and/or other
individuals associated with the companies WWDC, USK Most, NV
DEME, Belfort Ltd., SM-Ltd., Porteco, Newcomb Ltd., KV-M, and
Sevmorgeologia;

b. regarding consultancy agreements occurring or existing between 2013 and
2017 and related to any individual or company described in this affidavit,

c. regarding dredging or port development in Russia;

d. regarding irivoices or payment instructions involving any company,
individual, or for any activity described in this affidavit; and

e. regarding any attempt to conceal the identity, location, or activity of any
individual, company, or transfer of funds or otherwise regarding the

concealment of evidence of wrongdoing.

 
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1. Government procedures for warrant execution

The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized’

specified in Section II. That information that is within the scope of Section II may be copied and
retained by the United States and shared with appropriate foreign authorities.

Law enforcement personnel will then seal any information from PROVIDER that does
not fall within the scope of Section JI and will not further review the information absent an order

of the Court,

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN THE MATTER.OF THE SEARCHOF | .
INFORMATION ASSOCIATED WITH ;
EIGHT ACCOUNTS STORED AT ML No. 18-873
PREMISES CONTROLLED BY GOOGLE

LLC PURSUANT TO 18 U.S.C. 2703 AND

3512

 

Reference: DOJ Ref. # CRM-182-59483; Subject Accounts: porteco.sofia@gmail.com,
sofianeirynck@gmail.com, belfortiid@gmail.com, eoodsm@gmail.com,
sabeta03250@gmail.com, bernard.alain6S@gmail.com, gerd,moyson@gmail.com, and
debouwer2014@gmail.com

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Carlos A. Tomala, being first duly swotn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information which is associated with eight accounts — that is, porteco.sofia@gmail.com,
sofianeirynck@gmail.com, belfortltd@gmail.com, eoodsm@gmail.com, .
sabeta03250@pmail.com, bernard.alain65@gmail.com, gerd.moyson@pmail.com, and
debouwer2014@gmiail.com — which is stored at premises controlled by Google LLC
(“PROVIDER”), an electronic communications services provider and/or remote computing
services provider, which accepts service at 1600 Amphitheatre Parkway, Mountain View,
California. The information to be searched is described in the following paragraphs and in
. Attachment A. This affidavit is made in support of an application for a search warrant under
18 U.S.C. §§ 2703(a), 2703(b)(1)(A), 2703(c)(1)(A), and 3512(a), to require PROVIDER to

disclose to the government copies of the information (including the content of communications)

 

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further described in Section I of Attachment B. Upon receipt of the information described in
Section Lof Attachment B, government-authorized persons will review that information to locate
the items described in Section II of Attachment B, using the procedures described in Section IIT
of Attachment B.

2. The information requested in this search warrant is being sought pursuant to a
réquest for assistance (“Request”) from the Federal Public Service Justice in the Kingdom of
Belgium (“Belgium”), transmitted to Washington, D.C. Authorities in Belgium are investigating
Sofia Mirtcheva-Neirynck (“Sofia”), the Belgian company NV DEME, and other known and
unknown individuals for public contract fraud and bribery offenses, which began on or before
October 2013, in violation of the criminal law of Belgium, specifically, Sections 193, 196, 314, ~
504bis, and 505¢er of the Belgian Criminal Code, A copy of the applicable laws is appended to
this application. This Request is made pursuant to the Instrument as.contemplated by Article
3(2) of the Agreement on Mutual Legal Assistance Between the United States-of America and
the European Union signed 25 June 2003, as to the application of the Treaty Between the United
States of America and the Kingdom of Belgium on Mutual Legal Assistance in Criminal Matters
signed 28 January 1988, Belg.-U.S., Dec. 16, 2004, S. TREATY DOC. NO. 109-13 (2006)
(hereinafter, the “Instrument”). Under the Instrument, the United States is obligated to render
assistance in response to the Request. .

3, Tam a Special Agent with the Federal Bureau of Investigation (FBI, and have
been since 1997, I am currently assigned to the International Operations Division, Mutual Legal
Assistance Treaty Unit,in Washington, D.C. My current duties iriclude responding to requests
from foreign governments pursuant to mutual legal assistance treaties, including serving as the

affiant on search warrant affidavits, serving search warrants, and reviewing the data received in.

 
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response thereto for relevance in compliance with the parameters of the search warrants. During
my employment with the FBI, I have conducted investigations related to high technology and
cybercrimes, cyber intrusions, remote delivery of exploits, and cyber offensive attacks. I have
also worked on numerous criminal and counterintelligence investigations. I have experience in
the execution of search warrants and the analysis of collected evidence. Additionally, I have
received training in the operation of computers and the collection and handling of digital
evidence. I have been trained by the FBI as a Digital Extraction Technician (“DExT”) and
received specialized training in several forensic software programs, such as Forensic Toolkit
(“FTK”), EnCase, and X-Ways Forensics.

4, The facts set forth in this affidavit are based upon information conveyed to the
United States via the Request made pursuant to the Instrument by authorities in Belgium and
upon my training and experience. This affidavit is intended to show merely that there is
sufficient probable cause for the requested warrant. It does not set forth all of my knowledge, or
the knowledge of others, about this matter. |

5. Based on my training and experience and the facts as set forth in this affidavit, I
respectfully submit that there is probable cause to believe that violations of the criminal laws of
Belgium have been committed by Sofia Mirtcheva-Neirynck (“Sofia”), executives of the Belgian
company NV DEME, and other known and unknown individuals. There is also probable cause
to search the information described in Attachment A for evidence, instrumentalities, contraband
or fruits of these crimes further described in Attachment B.
JURISDICTION
6. Pursuant to the applicable treaty, this Court has jurisdiction to issue the proposed

Order. See Instrument Annex art. 16(1)} (authorizing courts.to issue orders necessary to-execute

 
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the request). In addition, this Court has jurisdiction to issue the requested warrant because itis —
“a court of competent jurisdiction” as defined by 18 US.C. § 2711. See 18 U.S.C. § 2703(a),
(b)(1)(A) & ()C1)(A). Specifically, the Court “is acting on a request for foreign assistance
pursuant to [18 U.S.C,] section 3512...” 18 U.S.C. § 2711(3)(A)(iii); see also 18 U.S.C,
§ 3512(a)(2)(B) (court may issue “a warrant or order for contents of stored wire or electronic
communications or for records related thereto, as provided under section 2703”), § 3512(c)(3)
(“application for execution of a request from a foreign authority under this section may be filed .
. - in the District of Columbia”).
| 7. This application to execute Belgium’s request has been approved and duly
authorized by an appropriate official of the Department of Justice, through the Criminal
Division, Office of International Affairs (“OIA”).! See 18 U.S.C. § 3512(a). An OIA attomey
has authorized the undersigned to file this application.
PROBABLE CAUSE
8. Authorities in Belgium are investigating Sofia, executives of the Belgian
company NV DEME, and other known and unknown individuals (collectively, “the suspects”)
for fraud (i.e. bid-rigging) and bribery in obtaining a public contract to conduct dredging in the
Russian port of Sabetta on the Yamal peninsula. According to-Belgian authorities, NV DEME,
through its agent, Sofia, bribed its way info winning the lucrative dredging contract for the
Russian port and used a series of shell companies to launder the bribe money. Evidence gathered

by Belgian authorities establishes that NV DEME’s Chief Executive Officer (“CEO”) Alain

 

' The Attorney General, through regulations and Department of Justice directives, has delegated to the
Office of International Affairs the authority to serve as the “Central Authority” under treaties and
executive agreements between the United States and other countries pertaining to mutual assistance in
criminal matters, See 28 C.F.R. §§ 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and
81C (2018). :

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Berard (“Berard”), Group Finance Manager for International Dredging Bart
Vandemeulebroucke (“Vandemeulebroucke”), Manager of Estimates Girard “Gerd” Moyson
(“Moyson”), and Area Director for Russia and Eastern Europe Dirk Poppe (“Poppe”) were
directly involved in the criminal activity.

The Sabetta Dredging Subcontract

9, A Russian state-owned port company is responsible for the development of an
important harbor terminal in Sabetta, Russia on the Yamal peninsula. As part of this -
development project, the state-owned Russian company selects a managing contractor to design
public tenders and allocate various subcontracts for the execution of the project. With respect to
the dredging of the harbor, the state-owned company selected the Russian company USK Most
as the managing contractor to oversee the public tender. On or about November 6, 2013, USK
‘Most formally announced the public tender for a subcontract to conduct dredging in the Sabetta
harbor from 2014 through 2017. The subcontract had an initial estimated value of EUR 4
million (approximately USD 5.4 million). By contract and statute, USK Most and its agents
were.bound by confidentiality to ensure an open and competitive bidding process for the
dredging subcontract and were not permitted to release confidential information regarding
competitors’ bids and proposals, Two Belgian companies NV JAN DE NUL (“the Victim
Company”) and NV DEME submitted competing bids for the contract.

10. Prior to the publication of the public tender, between September 2002 and August
2012, Sofia served as NV DEME’s business development and deputy area director for Russia
and Eastern Europe, Sofia, who is a naturalized Belgian citizen of Bulgarian origin and speaks
fluent Russian, specialized in consulting with regard to the Russian market. On August 31,

2012, Sofia formally left the employment of NV DEME to work as an independent consultant.

 
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However, in reality, Sofia continued her role in advancing NV DEME’s interests in contracts in
Russia and Eastern Europe under the facade of an independent consultancy. For example,
despite not formally leaving NV DEME until August 31, 2012, Belgian authorities obtained a
“Consultancy and Service Agreement” between NV DEME and Sofia’s Belgian consultancy
company, BVBA Porteco (“Porteco”), dated June 18, 2012. Sofia established the company less
than a year prior, in October 2011. The agreement outlined Sofia’s tole in supporting NV
DEME’s business activities, including dredging, in Russia and the former Soviet Republics.

11. Despite Sofia’s official and unofficial relationship -with NV DEME, she
proceeded to conclude a contemporaneous contract with USK Most in December 2012 with
| regard to the Sabetta harbor dredging project. According to the contract, Sofia would participate
in the development of the public tender and sit on the evaluation board charged with reviewing
‘subcontractor bids and awarding the ultimate subcontract. Thus, from 2012 through 2014, Sofia
was simultaneously contracted to assist NV DEME in winning Russian dredging contracts and to
serve on the evaluation board of a public tender on which NV DEME was bidding, a clear
conflict of interest.

12. This conflict of interest was first discovered in March 2014, when Sofia, together
with the chair of the public tender evaluation board, Sergey Komkov (“Komkov”), visited the
Victim Company and NV DEME in Belgium to evaluate their respective bids. It was at this time
that the Victim Company learned that Sofia — who was already known to the Victim Company
due to her longstanding role in business consulting for NV DEME- was on the evaluation board
forthe public tender. On April 11, 2014, the Victim Company received a letter informing them
- that they were not selected: for the dredging subcontract. The subcontract was instead awarded to

NV DEME and its Russian subsidiary.

 
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13. Following their own private investigation, the Victim Company provided Belgian
authorities with numerous e-mails between October 2013 and November 2014 between Sofia and
the NV DEME leadership. These included e-mails from Sofia to the NV DEME e-mail accounts
of Poppe and Bernard requesting personal e-mail addresses Sofia could use to-contact them. about
the dredging project through unofficial channels. Sofia also e-mailed Bernard, Poppe, and
Moysen to discuss updates regarding the dredging project and share confidential competitors’
bids including that of the Victim Company.

The Bribe Money

14. A review of business records for Sofia’s Belgian-company, Porteco, established
that in the period from October 1, 2012, through November 30, 2013, NV DEME made
payments to Porteco totaling EUR 175,340 (approximately USD 236,569) pursuant to their
official consultancy agreement. According to Belgian authorities, this amount represented a
reasonable market price for the type of official consultancy services outlined in the contract.
Business records also established that Porteco likewise received payment from USK Most for the
consultancy services outlined in Sofia’s official contract with the company related to the public
tender. Despite official business records showing that Sofia, through her firm Porteco, was fully
compensated for her official services for both contracts, Belgian authorities subsequently
uncovered evidence that, following the awarding of the dredging contract to NV DEME, Sofia
and Komkov—her counterpart at USK Most— were each paid an additional EUR 4,188,000

(approximately USD 5,650,45 0) through a series of shell companies with links to NV DEME,

15. Following their loss of the subcontract and their own independent investigation,

the Victim Company reported the suspected public contracting fraud to Belgian authorities on

September 8, 2016. As part of their complaint, the Victim Company provided authorities with a

 
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variety of records they had privately obtained, including copies of e-mail communication
between NV DEME leadership and Sofia as well as the consultancy contracts between NV
DEME and Sofia. Belgian authorities subsequently conducted searches of the suspects’ homes
and obtained records from Belgian banks and e-mail providers, These materials evidenced a
scheme by which NV DEME laundered money through companies registered in Cyprus and
Panama in order to bribe Komkov, (of USK. Most) and Sofia to obtain the dredging subcontract,

16. Basedon these records, Belgian authorities determined that, between June'2014 .

and February 2018, Sofia was scheduled to receive EUR 4,188,000 in monthly payments made

to two Bulgarian companies registered in her name: Belfort LTD (“Belfort”) and Sofia
Mirtcheva LTD (“SM-Ltd.”). The payments were to be made according to “local consultancy
agreements” between Sofia’s two Bulgarian companies and a company named World Wide
Dredging Corporation CWWDC”). WWDC is registered in Cyprus, and further information
about its activities is currently the subject of a pending mutual legal assistance request by _
Belgium to Cyprus. Pursuant to these agreements, Sofia would provide generic consulting
services to WWDC amounting to a total of EUR 4,188,000. The respective agreements provided
that Sofia’s Bulgarian companies, Belfort and SM-Ltd., would submit periodic invoices to
WWDC pursuant to a schedule of payments between June 2014 and February 2018. However,
based on e-mails provided by the Victim Company and obtained from providers, the consultancy
agreements, invoices, and payment schedule were all transmitted by e-mail between Sofia and
the leadership of NV DEME, in particular its Group Finance Manager Vandemeulebroucke.

17; Simultaneously, Belgian authorities uncovered evidence of a local consultancy
agreement between WWDC and an unknown Panamanian company K-Y-M Ltd. (KVM).

Based on e-mail records and a copy of the agreement obtained by Belgian authorities, Sofia

 
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. provided the consultancy contract, invoices, and payment schedule for KV-M. to WWDC, while
an individual named Felix Vakhovsky (“Vakhovsky”) served as the official agent of KV-M.
Like the agreements between WWDC and Sofia’s two Bulgarian firms, WWDC agreed to pay
KV-M EUR 4,188,000 in monthly installments between June 2014 and May 2018, Pursuant to
the agreement, Sofia would routinely submit invoices on behalf of KV-M to WWDC. In turn,

“WWDC would send payments to KV-M; however, Belgian authorities determined through bank

"records that those payments were ultimately routed through a series of banks before ending in a

‘Swiss bank account registered to the unknown company, Newcomb Ltd. (“Newcomb”).

Notably, Komkov, using the alias “Vasya Vasechkin,” was blind-carbon-copied on e-mails
between Sofia and Vakhovsky regarding KV-M invoices-and ‘payments.

18. Based on these records, Belgian authorities believe that Vakhovsky served-as a

‘straw man, and that KV-M served as a pass-through company to conceal payments that actually
originated with NV DEME and ended with Komkov. This conclusion is supported by the fact
that the contracts between WWDC and Belfort and SM-Ltd. on one hand, and between WWDC
and KV-M, on the other, were agreed contemporaneously with each other.and with the April
2014 award of the dredging contract to NV DEME. The contracts between WWDC, KV-M, and
Sofia’s Bulgarian companies provided for the payment of identical amounts of EUR 4,188,000 in
nearly identical installments over the time period of 2014 through the spring of 2018, atime _
period coinciding with the anticipated duration of the Russian dredging contract awarded to NV
DEME (anticipated to be performed from 2014 through at least December 2017). Finally, all
recovered communication regarding the local consultancy agreements, invoices, and payment

- schedules was conducted between Sofia, Komkov, Vakhovsky, and the NV DEME leadership.

 
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19.‘ Belgian.authorities believe that WWDC, KV-M, and Newcomb are shell
.companies established by or at the direction of NV DEME and Sofia to launder bribe money to

Sofia, Komkov, and possibly others in order to unlawfully obtain lucrative dredging contracts in
Russia. Authorities have more recently identified another shell company, Sevmorgeologia,
which is associated with Andrei Ovysyannikov, E-mail records obtained from NV DEME Group
Finance Manager Vandemeulebroucke’s account confirmed that this company was receiving
money from NV DEME-cum-WWDC during the same time period as KV-M, Belfort, and SM-
Ltd. E-mail records obtained from PROVIDER further confirmed that Ovsyannikov, via his
Russian e-mail account Sivers! @yandex.ru, was in regular contact with Sofia and
Vandemeulebroucke during the time period contemporaneous with the payments to Komkov and
Sofia, that is, from October 2014 through June 2016.

20. _ As part of their investigation, Belgian authorities uncovered evidence that at least
nine e-mail accounts hosted with U.S. providers were used by the respective suspects to
communicate regarding the dredging project and subsequent payments to Sofia and Komkov.
Belgian authorities are now seeking records for the following e-mail accounts belonging to the |
suspects to gather additional evidence, determine the scope of the criminal conduct, and identify
accomplices”;

a. Porteco.sofia@gmail.com is the official e-mail account for Sofia’s Belgian
consulting company, Porteco, with which NV DEME concluded a contract for

consulting services beginning on June 18, 2012. The Victim Company provided

 

2 The United States previously obtained court orders issued pursuant to 18 U.S.C. §2703(d) for these
accounts. See In re Application of USA Pursuant to 18 U.S:C, 3512 for 2703{d) Order for Eight E-mail
Accounts Serviced by Google LLC, No. 1:18-ml-00722 (D.D.C. October 11, 2018); In re Application of
USA Pursuant to 18 U.S.C, 3512 for 2703(d) Order for One E-mail Account Serviced by Oath Holdings,
Inc., No. 1:18-ml-00723 (D.D.C. October 24, 2018).

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| authorities with copies of e-mails it had obtained between the account, Komkov,
and other accounts belonging to USK Most or Sofia in April and July.2014.
Notably, despite the fact that this account uses the name of the Belgian company
with which NV DEME concluded its consultancy agreement, this account appears
to have been used almost exclusively to communicate with Komkov and others at
USK Most, as well as with Sofia’s other accounts: E-mails obtained by Belgian ©
authorities included a discussion of Sofia and Komkov’s collab oration on the
Russian dredging project and consultancy agreements with WWDC, For
example, on April 5, 2014, Komkov seit Sofia: an e-mail at this account with the
subject line “DEME vs. JDN” and an attachment containing an evaluation of the
competing offers. On April 26, 2014, Komkov e-mailed Sofia congratulating her
on the victory of DEME in the public tender, In her response, Sofia promises
Kotnkov that he and his wife deserve-a VIP holiday for their work. Sofia
forwarded herself an e-mail from NV DEME’s Group Finance Manager
Vandemeulebroucke providing the value-added-tax (VAT) and billing
information for WWDC to be used in the invoices for agreements with Belfort,
SM-Ltd., and KV-M. Records from PROVIDER also established that the account
was created on November 4, 2013 and was used to communicate regularly with
Komkov and with other e-mail accounts with USK Most’s official domain
between November 2013 and September 2016. The records evidence that this
account was created and used to be Sofia’s primary mechanism of communication

with USK Most regarding the dredging project.

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b. sofianeirynck@gmail.com is Sofia’s personal e-mail account. The Victim
Company provided Belgian authorities with several e-mails from November 2012
through May 2016 between this account and NV DEME leadership and Komkov,
For example, in November 2012, Sofia used this account to exchange a series of
e-mails with Bernard and Poppe regarding the Russian dredging project. In the e-
mail communication, Sofia informs them that she will be working with USK Most

. on the dredging project and that this presented avery good opportunity for all”
that she would like to discuss in person. A month later, on December 2, 2012,

" Sofia used this account to transmit to Bernard and Poppe partial submissions of
subcontract bids from various competitors. In response, Bernard inquired as to
the status of the bid of their Belgian competitor, the Victim Company. Belgian
authorities also recovered a May 6, 2016, e-mail to Komkov in which Sofia
provides confirmation of a series of 2016 invoice payments made by WWDC to
KV-M. Attached to that e-mail was a spreadsheet showing payments and
invoices involving “Felix,” (presumably Vakhovsky) and a “Mister X.”

c. Belfortltd@gmail.com is associated with one of Sofia’s two Bulgarian
consultancy companies, Belfort. Despite NV DEME having no formal
relationship with Sofia’s Bulgarian companies, the Victim Company provided
Belgian authorities with numerous e-mails between October 2013 and November.
2014 between this account and NV DEME leadership. These included e-mails
from Sofia to the NV DEME e-mail accounts of Poppe and Bernard requesting

_ personal e-mail addresses Sofia could use to contact them about the dredging

project through unofficial channels. Sofia also used this account throughout 2014

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to discuss with NV DEME leadership, including Moyson and
Vandemeulebroucke, updates regarding the dredging project, share confidential
competitors’ bids, and subsequently to exchange agency agreements and invoices
for WWDC. For example, on February 6, 2014, a few months prior to the award
of the subcontract, Poppe sent an e-mail to Sofia at this address directing her to
remove a reference to her prior position with NV DEME from her LinkedIn
account, This account was also used to communicate with Komkov, then using
the alias “Vasya Vasechkin,” regarding the contracts and payments between
WWDC and KV-M and to provide Komkov with copies of invoices “already sent
to the client.” Non-content records obtained pursuant to a prior court order
confirmed that Sofia used this count to communicate with Moyson in the months
leading up to the award of the subcontract; with Poppe between October 5, 2013
and May 18, 2016; with Bernard between at least October 15, 2013, and

Vandemeulebroucke between May 20, 2014 and May 14, 2016. Sofia also used

this account to communicate regularly with Komkov and Vasechkin between May .

2014 and September 2016. Sofia also repeatedly sent e-mails from this account to
other e-mail accounts owned by her, including eoodsm@gmail.com,
sofia.detelina@gmail.com, porteco.sofia@gmail.com,
sofianeirynck@gmail.com, and sabeta03250@gmail.com.

- e00dsm@gmail.com is an account associated with Sofia’s second Bulgarian

company, SM-Ltd; the e-mail name derives from the Bulgarian name for the

company, as the Bulgarian version of “Ltd.” is “EOOD.” Additionally, subscriber -

records obtained from PROVIDER. established that this account was first created

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on May: 16, 2014; the same day Sofia immediately received e-mails from her
other accounts belfortltd@gmail.com, sabeta03250@gmail.com,
sofiamircheva@gmail.com, and on May 19, sent an e-mail to
Vandemeulebroucke at debouwer2014@gmail.com, The timing of the
registration and immediate use to communicate primarily with herself and with
Vandemeulebroucke strongly suggests the account was set up for the purpose of
facilitating the payments between WWDC and SM-Ltd. Belgian authorities
obtained a June 6, 2014, e-mail in which Sofia used this account to forward an e-

mail to herself at belfortltd@gmail.com containing the payment schedule for the

-consultancy agreements with WWDC. Moreover, in a May: 16, 2014, e-mail from

her personal account to Vandemeulebroucke, Sofia provided the payment
schedule for WWDC to Sofia’s Bulgarian companies, proposed to
Vandemeulebroucke that they “communicate via separate mails,” and promised
that she would send him the “e-mail address for [SM-Ltd],” understood to be this
account. Non-content records established that Sofia used this account between
May 2014 and May 2016 to communicate with Vandemeulebroucke at
debouwer2014@gmail.com monthly, corresponding to the schedule of periodic
invoices for the bribe payments.

Sabeta03250@gmail.com is an account bearing a name derived from the Russian

-dredging project in the port of Sabetta and recovered e-mails are signed by “Olga

Pankratova.” However, evidence indicates that this account belongs to Sofia.
Belgian authorities obtairied'a March 20, 2014, e-mail from PROVIDER to

Sofia’s e-mail belfortltd@gmail.com. The e-mail header information indicated

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that.belfortltd@gmail.com had itself been configured to appear as though it was
from “Olga Pankratova,” with the “To” line reading “Olga Pankratova
<belfortitd@gmail.com>.” The message ftom PROVIDER confirmed the
creation of the new e-mail account sabeta03520@gmail.com. The same day,
Sofia, using belfortltd@gmail.com, forwarded the e-mail in which Bernard had
provided his personal address to this account (sabeta03250@gmail.com).
Additionally, on July 1, 2014, this account was tised to forward an e-mail from
Vandemeulebroucke to Sofia’s account porteco.sofia@gmail.com. That e-mail
contained the VAT and billing information for WWDC for Sofia to use in the
invoices for agreements with Belfort, SM-Ltd, and KV-M. Non-content records
obtained from PROVIDER confirmed that this account was registered with
belfortltd@gmail.com under the alias Olga Pankratova. This account appears to
have been used to communicate almost exclusively with NV DEME leadership,
including Vandemeulebroucke, Ovsyannikov at sivers]@yandex.ru, and
periodically with Sofia’s other e-mail accounts.

f. Bernard.alain65@gmail.com is the personal account of NV DEME CEO Alain
Bemard. Following direct e-mail communication between Sofia and Bernard’s
official NV DEME e-mail account regarding the Russian dredging subcontract in
2012 and 2013, Sofia began requesting that Bernard and other NV DEME
officials begin communicating with her through personal e-mail accounts in 2014,
coinciding with the award of the subcontract to NV DEME and conclusion of
WWDC consultancy agreements. For example, Belgian authorities were

provided with a copy of a March 15, 2014, e-mail from Sofia to Bernard using

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Bernard’s official NV.DEME e-mail account. The subject line was “PLS send me ©

your private mail address, tnks,” Bernard replied, providing Sofia with this

account and copied sabet03250@gmail.com. Non-content records obtained from

PROVIDER established that Bernard used this account to communicate
repeatedly with Sofia at belfortitd@gniail.com from August 2014 through April

2016, and with sabeta03250@gmail.com between at least June 2014 and July

2016..

h.

Gerd.moyson@gmail.com is the personal account of Moyson, Manager of the
Estimates Department a NV DEME. ‘Authorities obtained e-mails from
November 25, 2013, and February 20, 2074, in which Sofia transmitted
confidential information regarding competing bids for the dredging project to this
account, and Moyson responded providing his analysis and directions for how to.
proceed,

Debouwer2014@gmail.com is believed to be the personal account of
Vandemeulebroucke, NV DEME?’s Group Finance Manager of International
Operations. Subscriber records obtained from PROVIDER established that the
account was created on May 9, 2014, and linked to the account

bym2000@gmail.com, “bym” likely corresponding to Bart Vandemeulebroucke.

- In 2014, Belgian authorities recovered e-mails to this account from Sofia

regarding the consultancy agreements and payment invoices between WWDC and _
KV-M; Belfort, and SM-Ltd. The e-mails established that Sofia transmitted the
invoices: meant for WWDC to Vandemeulebroucke:at this account. For example,

on May 16, 2014, Sofia transmitted the “financial schedule for the contracts in

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Bulgaria” to this account. This account was subsequently used to provide Sofia ~
the VAT and billing information to be included in the WWDC consultancy
agreements and invoices on July 1,2014. Anin a November 14, 2014, e-mail

' provided to Belgian authorities, Sofia e-mailed October and November invoices
for WWDC to this account. Non-content records for the account establish the
account was created just after the award of the subcontract and was used to
communicate almost exclusively with Sofia, NV DEME leadership, and
sivers1@yandex.ra. The timing and use of the account, as well as the
registration of the account under an alias, evidence that the account was-created
for the purpose coordinating the bribery payments between NV DEME, Sofia, and
Komkoy. PROVIDER records established that the account was used routinely to
contact Sofia at numerous of her accounts between May 2014 and September
2016, as well as to contact Ovsyannikov between at least June 2014 and June
2016.

i. felixglobex@yahoo.com’ is a personal account belonging to Felix Vakhovsky.
Vakhovsky is believed to be the strawman for KV-M, the pass-through company
through which payments from WWDC flow to Newcomb/Komkov. In September
2014, e-mails were recovered showing that Sofia transmitted the WWDC—KV-M
consultancy agreement and invoices to Vakhoysky, On November 30, 2014, an e-
mail from an as yet unidentified individual sent an e-mail to this account with the

subject line “consulting agreement KYM-Newcomb” and an attachment of the

 

3 This account is the subject ofan application for a search warrant filed contemporaneously with the.
instant application in case number 18-ml-874.

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ostensible consulting agreement. The e-mail also contained directions for
Vakhovsky to draw up an agreement between KV-M and Newcomb and an
explanation of the payment schedule, According to records obtained from
PROVIDER, Sofia, using belfortitd@gmail.com, contacted this account in
monthly intervals corresponding to the schedule of invoice payments between at
least September 2014 and April 2016, In her e-mails to Vakhovsky, Sofia
routinely blind-carbon-copied Komkov’s e-mail jam2014-17@yandex.ru.

21. The e-mail accounts porteco.sofia@gmail.com, sofianeirynek@gmail.com,
belfortitd@gmail.com, eoodsm@gmail.com, sabeta03250@gimail.com, .
bernard.alain65@zgmail.com, gerd.moyson@gmail.com, and debouwer2014@gmail.com are
hosted by PROVIDER.

BACKGROUND CONCERNING PROVIDER’S ACCOUNTS ©
| 22. PROVIDER is the provider of the internet-based accounts identified by: |
porteco,sofia@gmail.com, sofianeirynck@gmail.com, belfortltd@gmail.com,
eoodsm@gmail.com, sabeta03250@gmail.com, bernard.alain6S@gmail.com,
gerd.moyson@gmail.com, and debouwer2014@gmail.com.

23. | PROVIDER provides its subscribers internet-based accounts that allow them to
send, receive, and store e-mails online. PROVIDER accounts are typically identified by a single
‘isername, which serves as the subscriber’s default e-mail address, but which can also function as
a subscriber’s username for other PROVIDER services, such as instant messages and remote ~
photo or file storage.

24. Based on my training and experience, I know that PROVIDER allows subscribers

to-obtain accounts by registering with PROVIDER. During the registration process, PROVIDER

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_asks subscribers to create a username and password, and to provide-basic personal information,
such as 2 name, an alternate e-mail address for backup purposes, a phone number, and in some
cases, a means of payment. PROVIDER typically does not verify subscriber names, However,
PROVIDER does verify the e-mail address or phone numb er provided.

25. Once a subscriber has registered an account, PROVIDER provides e-mail services
that typically include folders, such as an “inbox” and a “sent mail” folder, as well as electronic
address books or contact lists, and all of those folders are linked to the subscriber’s username.
PROVIDER subscribers can also use that same username or account in connection with other

. services provided by PROVIDER.

26, In general, user-generated content (such as e-mail) that is written using, stored on,
sent from, or sent to a PROVIDER account can be permanently stored in connection with that
account, unless the subscriber deletes the material. For example, if the subscriber does not delete
an e-mail, the e-mail can remain on PROVIDER’s servers indefinitely. Even if the subscriber
deletes the e-mail, it may continue to exist on PROVIDER’s servers for a certain period of time.

27. | Asubscriber’s PROVIDER account can be used not only for e-mail but also for
other types of electronic communication, including instant messaging and photo and video
sharing; voice calls, video chats, SMS text messaging; and social networking. Depending on

" user settings, user-generated content derived from many of these services is normally stored on

PROVIDER’s servers until deleted by the subscriber. Similar to e-mails, such user-generated

content oan remain on PROVIDER’s servers indefinitely if not deleted by the subscriber, and

even after being deleted, it may continue to be available on PROVIDER’s servers for a certain
period of time. Furthermore, a PROVIDER subscriber can store contacts, calendar data, images,

videos, notes, documents, bookmarks, web searches, browsing history, and various other types of

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information on PROVIDER’s servers. Based on my training and experience, J understand that
evidence of who.controlled, used, and/or created a PROVIDER account may be found within
such computer files and other information created or stored by the PROVIDER subscriber.
Based on my training and experience, I know that the types of data discussed above can include
records and communications that constitute evidence of criminal activity.

28. Based on'my training and experience, I know that providers such as PROVIDER
also collect and maintain information about their subscribers, including information about their
use of PROVIDER services. This information can include the date on which the account was
oreated, the length of service, records of log-in (i.¢., session) times.and durations; the types of:

" service utilized, the status of thie account (including whether the. account is inactive or closed),
the methods used to connect to the account (such as- logging into the account via the provider’s
website), and other Jog files that reflect usage ofthe account: Providers such.as PROVIDER also
commonly have records of the Internet Protocol address (“IP address”) used to register the
account and the IP addresses associated with other logins to the account. Because every device
that connects to the Internet must use an IP address, IP address information can help to.identify
which devices were used to access the relevant account. Also, providers such as PROVIDER
typically collect and maintain location data related to subscriber’s use of PROVIDER services,
including data derived from IP addresses and/or-Global Positioning System (“GPS”) data.

_ 29. Based on my training and experience, I understand that providers such as
PROVIDER also collect information relating to the devices used to access a subscriber's account
— such as laptop ot desktop computers, cell phones, and tablet computers. Such devices can be
identified in various ways. For example, some identifiers are assigned to a device by the

manufacturer and relate to the specific machine or “hardware,” some identifiers-are assigned by a

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telephone carrier concerning a particular user account for cellular data or voice services, and
some identifiers are actually assigned by PROVIDER in order to track what devices are using
PROVIDER’s accounts and services. Examples of these identifiers include unique application
number, hardware model, operating system version, Global Unique Identifier (“GUID”), device
serial number, mobile network information, telephone number, Media Access Control (“MAC”)
address, and International Mobile Equipment Identity (“IMEI”). Based on my training and
experience, I know that such identifiers may constitute evidence of the crimes under
investigation because they can be used (a) to find other PROVIDER accounts created or accessed
by the same device and likely belonging to the same user, (b) to find other types of accounts .
linked to the same device and user, and (c) to determine whether a particular device recovered
during the course of the investigation was used to access the PROVIDER account.

30. Based.on my training and experience, I understand that providers such as
PROVIDER use cookies and similar technologies to track users visiting PROVIDER’s webpages
and using its-products and services. Basically, a “cookie” is a small file containing a string of
characters that a website attempts to place onto a user’s computer. When that computer visits
again, the website will recognize the cookie and thereby identify the same user who visited
before. This sort of technology can be used to track users across multiple websites and: online
services belonging to PROVIDER. More sophisticated cookie technology can be used to
) ‘identify users across.devices and web browsers. From training and experience, I know that
cookies and similar technology used by providers such as PROVIDER may constitute evidence
of the criminal activity under investigation. By linking various accounts, devices, and online
activity to the same user or users, cookies and linked information can help identify who was

using a PROVIDER account and determine the scope of criminal activity.

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31. Based on my training and experience, I understand that PROVIDER maintains
records that can link different PROVIDER accounts to one another, by virtue of common
identifiers, such as common. e-mail addresses, common telephone numbers, common device
identifiers, common . computer cookies, and common names or addresses, that can show-a single

_ person, or - single group of persons, used multiple PROVIDER accounts, Based on my training
and experience, I also know that evidence concerning the identity of such linked accounts can be
useful evidence in identifying the.person or persons who have used a particular PROVIDER
account.

- 32, | Based ¢ on my training and experience, I understand that subscribers can
communicate directly with PROVIDER: about issues relating to the account, such as technical
problems, billing inquiries, or ‘complaints from other users. Providers such as PROVIDER
typically retain records about such comrmnications, including records of contacts between the
user and the provider’s support services, as well records of any actions taken by the provider or
user.as a result of the communications. In my training and experience, such information may
constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users.

33. In summary, based on my training and experience in this context, I believe that
the computers of PROVIDER are likely to contain user-generated content such as stored
electronic communications (including retrieved and unretrieved e-mail for PROVIDER
subscribers), as well as PROVIDER-generated information about its subscribers and their use of
PROVIDER services and other online services, In my training and experience, all of that
information may constitute evidence of the.crimes under investigation because the information

can be used to identify the account’s user or users. In fact, even if subscribers provide

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PROVIDER with false information about their identities, that false information often provides
clues to their identities, locations, or illicit activities.

34. As explained above, information stored in connection with a PROVIDER account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the investigating authorities to establish and prove
each element of the offense, or, alternatively, to exclude the innocent from further suspicion.
From my training and experience, I know that the information. stored in connection with a
PROVIDER account can indicate who has used or controlled the account. This “user
attribution” evidence is analogous to the search for “indicia of occupancy” while-executing a ~
search warrant at a residence. For example, e-mail communications, contacts lists, and images
sent (and the data associated with the foregoing, such as date and time) may indicate who used or
controlled the account at a relevant time. Further, information maintained by PROVIDER can
show how and when the account was accessed or used, For example, providers such as
PROVIDER typically log the IP addresses from which users access the account along with the
time and date. By determining the physical location associated with the logged IP addresses,
investigators can understand the chronological and geographic context of the PROVIDER
account access and use relating to the criminal activity under investigation. This geographic and
timeline information may tend to éither inculpate or exculpate the person who controlled, used,
and/or created the account. Additionally, information stored at the user’s account may further
indicate the geographic location of the account user at a particular time (e.¢., location
information integrated into an image.or video sent via e-mail), Finally, stored electronic data
may provide relevant insight into the user’s state of mind as it relates to the offense under

investigation. For example, information in the PROVIDER account may indicate its user’s

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motive and intent to commit a crime (e.g., communications relating to the crime), or
consciousness of guilt (e.g., deleting communications in an effort to conceal them from law
enforcement).‘
CONCLUSION
35. Based on the forgoing, I request that the Court issue the proposed search warrant.
Because the warrant will be served on PROVIDER who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

Carlos A. Tomala

Supervisory Special Agent
Federal Bureau of Investigation

warrant at any time in the day or night.

Subscribed and sworn to before me on December 13, 2018

Ae - Mug

Robin M. Meriweather |
UNITED STATES MAGISTRATE JUDGE

 

‘ At times, communication service providers such as PROVIDER can and do change the details and
functionality of the services they offer. While the information in this section is true and accurate to the
best of my knowledge and belief, I have not specifically reviewed every detail of PROVIDER’s services
in connection with submitting this application for a search warrant. Instead, I rely upon my training and
experience, and the training and experience of others, to set forth the foregoing description for the Court.

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Relevant Provisions of the Belgian Criminal Code

Section 193 .
Forgery of documents,- .[computer. data], or telegrams with a fraudulent intent or with the intent to
harm will be punished in accordance [with the following] sections.

Section 196 Penal Code

‘Imprisonment froni 5 to 10 years will [be the punishment for] persons who commit'a forgery of
public and official documents, and all those who commit a forgery of commercial, bank, or
private documents, whether by false signatures, counterfeiting, altering writing and signatures, or
by making agreements, dispositions, obligations, or discharges, or by their insertion after the

' fact, or by adding or altering clauses, declarations, or facts that these acts were intended to
incorporate or to record.

Section 314 Penal Code

_ A person who, in the award of property, of usufruct, of the rental of real o or personal property, of

-a business, of the supply or the exploitation of any service, obstructed or disturbed the freedom
of bidding or tendering, by violence or by threat, by gifts or promises, or by any fraudulent
means, will be punished by an imprisonment of 15 days to 6 months and a fine of 100 to 3,000
euro.

Section 504bis Penal: Code

(1) Passive private bribery is constituted by the fact that a person who is a director or manager of
a legal person or trustee or agent of a legal or natural person, solicits, accepts or receives, directly
or through intermediaries, an offer, a promise, oran advantage of any kind, for themselves or for
a third party, to perform or refrain from performing an act of their office or facilitated by their
office, without the knowledge or authorization,.as the case may be, of the board. of directors, the
general assembly, the trustee, or the employer.

(2) Active private bribery is'the constituted by the act of proposing, directly or through
intermediaries, to a person who is a director or manager of legal person or trustee or agent of a
legal or natural person an offer, a promise, or an advantage of any kind, for themselves or for a
third party, to do or to refrain from performing an act of their office or facilitated by their office,
without the knowledge or authorization, as the case may be, the board of directors, the general
assembly, the trustee, or the employer.

Section 504ter
(1) In the case of private corruption, the penalty will be imprisonment of six months to two years
and fine of 100 euros to:10,000 curos.or one of these penalties.

(2)Where the act referred to.in Article 504bis(1) is followed by a proposal referred to in Article
504bis(2), likewise in the case where the proposal referred to in Article 5045is(2) is accepted, the
sentence shall be imprisonment from six months to three years and a fine of 100 euros to 50,000
euros or one of these penalties.

 
